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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

CAJUN GLOBAL, LLC;                                 §
CAJUN OPERATING COMPANY;                           §
CAJUN REALTY, LLC;                                 §
CAJUN FUNDING CORP,                                §
                                                   §
        Plaintiffs,                                §
                                                   §
v.                                                 §    Case. No. 4:22-cv-1719
                                                   §
ROYAL TEXAS, LLC;                                  §
BAH TEXAS, L.P.;                                   §
BAH TEXAS, LLC;                                    §
BAH TEXAS HOSPITALITY CORP;                        §
TRIANGLE CAPITAL PROPERTIES, LLC;                  §
DAVID DAVOUDPOUR                                   §
                                                   §
        Defendants.                                §

                           DEFENDANT’S NOTICE OF REMOVAL

        Defendant Triangle Capital Properties, LLC (“Triangle”) hereby removes this action from

the District Court in the 125th Judicial District of Harris County, Texas, to the United States District

Court for the Southern District of Texas, Houston Division pursuant to 28 U.S.C. §§ 1331, 1441,

and 1446. In support of this Notice of Removal, the Defendant states as follows:

                          FACTUAL AND PROCEDURAL HISTORY

        1.      On May 25, 2022, Plaintiffs Cajun Global, LLC, Cajun Operating Company, Cajun

Realty, LLC, and Cajun Funding Corp. (“Cajun” or “Plaintiffs”) filed their Supplemental Petition

and Second Supplemental Verified Application for Emergency Temporary Restraining Order,

Temporary Injunction, and Permanent Injunction (the “Supplemental Petition”) for the first time

naming Triangle as a Defendant in the District Court in the 125 th Judicial District of Harris County,




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Texas, cause number 2022-17350 (the “Harris County District Court matter”).1 Pursuant to 28

U.S.C. § 1446(a), a true and correct copy of the Supplemental Petition is attached as Exhibit A.2

         2.       Removal is being effectuated within 30 days of receipt of the Supplemental Petition

pursuant to 28 U.S.C. § 1446(b).

                                        GROUNDS FOR REMOVAL

         3.       Under 28 U.S.C. § 1331, this Court has original jurisdiction over Plaintiffs’ action

as it arises under the Constitution, laws, or treaties of the United States. As explained below,

Plaintiffs have asserted a trademark infringement claim under 15 U.S.C. § 1114 of the Lanham

Act and an unfair competition claim under 15 U.S.C. § 1125 of the Lanham Act.

                                      FEDERAL QUESTION EXISTS

         4.       The federal district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States.28 U.S.C. § 1331.

         5.       Such federal questions are at issue here.

         6.       Plaintiffs have pleaded two separate causes of action under the Federal Lanham Act

under §§ 1114 and 1125 for trademark infringement and unfair competition. Exhibit B, pg. 23

(Count 66) and pg. 24 (Count 67). Both of these causes of action are central to Plaintiffs’ request

for relief, as Plaintiffs allege that the trademark infringement and unfair competition are causing

their irreparable harm. Id., pgs. 31-36; Exhibit A, pg. 31 (incorporating the immediate and

irreparable harm prong discussion from its Original Petition into the Supplemental Petition, which

is based on the federal claims). Plaintiffs’ requested relief against Triangle is based on these federal


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  Cajun also added the other new Defendants—not served at the time of this filing—in their Supplemental Petition.
Those Defendants are BAH Texas, L.P.; BAH Texas, LLC; BAH Texas Hospitality Corp; and David Davoudpour,
individually. Royal Texas, LLC was the original and sole Defendant.
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  Prior to Cajun adding Triangle as a Defendant in the Harris County District Court matter, Triangle initiated a lawsuit
against Cajun in Georgia (Superior Court of Fulton County, 2022CV364219) related to Cajun’s trespass and
interference with its leasehold rights. Those claims are distinct from those that Cajun has asserted against Triangle in
the Harris County District Court matter.


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statutes. Exhibit A, proposed order (requesting trademark and unfair competition injunctions

against all defendants, including Triangle).

                              PROCEDURAL REQUIREMENTS

       7.      Removal to this District is proper because the District Court of Harris County,

Texas is within the Southern District of Texas. 28 U.S.C. § 1441(a), § 1446(a).

       8.      Pursuant to Local Rule 81 and 28 U.S.C. § 1446(a), this Notice of Removal is

accompanied by copies of the following:

              a. Plaintiffs’ Supplemental Petition, which is the sole pleading asserting causes of

                  action against Triangle, is attached as Exhibit A;

              b. Plaintiffs’ Original Petition, asserting causes of action against Royal Texas, LLC

                  (“Royal Texas”) is attached as Exhibit B;

              c. Royal Texas, LLC’s Original Answer against Cajun is attached as Exhibit C;

              d. All executed process in the case is attached as Exhibit D;

              e. The docket sheet is attached as Exhibit E;

              f. All orders signed by the state judge are attached as Exhibit F;

              g. An index of matters being filed is attached as Exhibit G; and

              h. A list of all counsel of record, including addresses, telephone numbers and

                  parties represented, is attached as Exhibit H.

       9.      Pursuant to 28 U.S.C. § 1446(d), Defendant shall give Plaintiffs written notice of

the filing of this Notice of Removal.

       10.     Pursuant to 28 U.S.C. § 1446(d), Defendant shall concurrently file the written

notice of the filing of this Notice of Removal with the District Court of Harris County, attaching




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as Exhibit 1 thereto a copy of this Notice of Removal and the documents attached to the Notice of

Removal.

       11.    Simultaneously with the filing of this Notice of Removal, Defendant file its

Disclosure Statement pursuant to Rule 7.1 of the Federal Rules of Civil Procedure.

                                 CONSENT TO REMOVAL

       12.    As of the time of this filing, the only other defendant properly joined and served in

the Harris County District Court matter is Royal Texas. Royal Texas, through counsel, expressly

consents to this removal pursuant to 28 U.S.C. § 1446 (b)(2)(A).



 Dated: May 26, 2022                      DLA PIPER LLP (US)


                                          By: /s/ Mark Waite
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                                          TRIANGLE CAPITAL PROPERTIES, LLC




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CONSENT TO REMOVAL:

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                                 CERTIFICATE OF SERVICE

       I certify that the foregoing has been served on all counsel of record in accordance with

Rule 21a of the Texas Rules of Civil Procedure on May 26, 2021.


                                                          /s/ Mark Waite___________
                                                          Mark A. Waite

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